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.v. 03-10051-6-T itc "j'*,lg}i<f§%zr
ARLEs wAvNE MANEss

Patrlck F. Martin Retained
Defense Attorney

213 East Lafayette Street
Jackson, TN 38301

 

 

AMENDED JUDGMENT |N A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 16, 2004.
Accordingiy, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & section N§M_foe_n-Y concluded Number{s)
21 USC §846 Conspiracy to Possess with intent to 04/19/2003 1

Distribute in Excess of 100
Kilograms of Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 2 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/22/1969 May 3, 2005
Deft‘s U.S. Marsha| No.: 19101-076

Defendant's Mai|ing Address:
869 Patterson Town Lane
Decaturvil|e, TN 38329

  

JAM D. TODD

This document entered on the docket sheet in compliance CH| UN|TED STATES DlSTR|CT JUDGE
with nunc 55 and/or az(b) Fach on /

May b , 2005

l‘:i?

Case 1:03-cr-10051-.]DT Document 197 Filed 05/06/05 Page 2 of 6 Page|D 193
Case No: 1:03cr10051-06-T Defendant Name: Ar|es Wayne Maness Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 24 Months.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. N|arsha|

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Case No: 1:03cr10051-06-T Defendant Name: Ades Wayne Maness Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answer truthful all inquiries by the probation officer and follow the instructions of the
probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation ofncer for
schooling, trainingl or other acceptable reasons;

5. the defendant shelf notify the probation officer ten(‘i 0) days prior to any change in residence or
employment;

6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substancel or any paraphemaiia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
or administered;

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8.

10.

11.

12.

13.

the defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement ocher;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

as directed by the probation ofdcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to conhrm the defendant's compliance with such
notification requirement

if this judgment imposes a nne or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

reiease:

‘i.

The defendant shall participate as directed in a program (0utpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing forthe detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Offlcer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution

$100.00

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Case No: 1:03cr10051-06-T Defendant Name: Aries Wayne Maness Page 5 of 5

The Speciai Assessment shall be due immediateiy.
FlNE
No fine imposed

REST|TUT|ON

No Restitution was ordered.

UNITED `SETATDISTRICT COURT - WESTER D"CTRIT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 197 in
case 1:03-CR-10051 Was distributed by faX, mail, or direct printing on
May ]O, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Patrick F. Martin

HARDEE MARTIN DAUSTER & DONAHOE
P.O. Box 98

Jackson7 TN 38302

Honorable J ames Todd
US DISTRICT COURT

